Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                          Document Page 1 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                          Document Page 2 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                          Document Page 3 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                          Document Page 4 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                          Document Page 5 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                          Document Page 6 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                          Document Page 7 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                          Document Page 8 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                          Document Page 9 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 10 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 11 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 12 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 13 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 14 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 15 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 16 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 17 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 18 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 19 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 20 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 21 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 22 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 23 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 24 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 25 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 26 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 27 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 28 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 29 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 30 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 31 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 32 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 33 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 34 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 35 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 36 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 37 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 38 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 39 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 40 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 41 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 42 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 43 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 44 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 45 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 46 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 47 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 48 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 49 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 50 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 51 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 52 of 53
Case:21-03364-MCF7 Doc#:63 Filed:02/18/22 Entered:02/18/22 16:15:56   Desc: Main
                         Document Page 53 of 53
